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 8

 9                               IN THE UNITED STATES DISTRICT COURT

10                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

11

12
     VOTING RIGHTS DEFENSE PROJECT,                               Case No. 3:16-cv-02739-WHA
13   AMERICAN INDEPENDENT PARTY,
     CLARA DAIMS, and SUZANNE                                     DECLARATION OF STEVEN J. REYES
14   BUSHNELL,                                                    IN OPPOSITION TO MOTION FOR
                                                                  PRELIMINARY INJUNCTION
15                                              Plaintiffs,
                                                                  Date:         June 1, 2016
16                    v.                                          Time:         11:00 a.m.
                                                                  Courtroom: 8
17                                                                Judge: William Alsup
     ALEX PADILLA, in his official capacity as                    Trial Date: None set
18   Secretary of State and an indispensable                      Action Filed: May 20, 2016
     party, TIM DEPUIS, in his official capacity
19   as chief of the Alameda County Registrar of
     Voters, JOHN ARNTZ, in his official
20   capacity as Director of the San Francisco
     Board of Elections, AND DOES I-X,
21
                                             Defendants.
22

23

24         I, Steven J. Reyes, declare as follows:

25         1.     I currently serve as Chief Counsel to California Secretary of State Alex Padilla,

26   Petitioner in this action. I have served in this capacity since approximately March 2015. I have

27   personal knowledge of the facts contained in this declaration, and if called upon to testify I could

28   and would testify competently as to the truth of the facts stated herein.
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 1         2.     In my capacity as Chief Counsel for the Secretary of State, I have wide-ranging
 2   responsibilities that include review and monitoring of outreach materials, such as official voter
 3   information materials, county advisories, press releases, social media communications, and
 4   website updates as well as involvement in other Secretary of State outreach and educational
 5   efforts. The Office of the Secretary of State’s has undertaken comprehensive efforts to provide
 6   outreach and educational materials to voters and elections officials related to the upcoming June
 7   7, 2016 California Presidential Primary Election.
 8         3.     Generally, these efforts have included providing information related to the voting
 9   options for “no party preference” (“NPP”) voters – persons who have chosen not to have any
10   party affiliation with qualified political parties when registering to vote or updating their voter
11   registration information. The Secretary of State has provided information through official
12   advisories to elections officials via County Clerk/Registrar of Voters (“CCROV”) memoranda;
13   Secretary of State website information; press releases; social media postings; TV and radio
14   interviews; and outreach events.
15         4.     The Secretary of State’s website includes comprehensive information outlining the
16   information related to the voting rights for NPP voters, including information on:
17                a.     Advising voters how to check their registration status and party affiliation;
18                b.     Identifying voter registration options, including links to the Secretary of State’s
19                       California Online Voter Registration (COVR) tool;
20                c.     Methods for requesting a vote by mail ballot;
21                d.     Methods for requesting a crossover ballot from county elections officials to vote
22                       1) by mail; or 2) in person;
23                e.     Which political parties allow crossover voting;
24                f.     How to vote by mail and in person at polling places or at county elections
25                       offices;
26                g.     Applicable deadlines for each of the above.
27         5.     Voter Information Guide: The Secretary of State has mailed over 10.5 million “Voter
28   Information Guides” to each household with a registered voter. The Voter Information Guide
                                                            2
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 1   includes information about the voting process and resources for voters to contact the Secretary of
 2   State or election officials for further information. Specific to NPP voters, Page 6 of the guide
 3   advises NPP voters of the right to request and vote crossover ballots by mail and in person at
 4   polling places. Page 12 of the guide provides additional information regarding voting options for
 5   the office of President of the United States and refers voters to a specific page of the Secretary of
 6   State’s website for additional information. The Voter Information Guide is also available online
 7   to download in English, as well as in Spanish, Chinese, Hindi, Japanese, Khmer, Korean,
 8   Tagalog, Thai, and Vietnamese -- the nine other languages required by Section 203 of the federal
 9   Voting Rights Act. (52 U.S.C. Section 10503; 76 Fed. Reg. 198 (Oct. 13, 2011) at 63602). (See
10   Secretary of State Voter Information Guide website, available at http://voterguide.sos.ca.gov/.)
11   Additionally, the Secretary of State has provided an American Sign Language version available
12   for viewing online. (See Secretary of State website, available at: http://voterguide.sos.ca.gov/asl/).
13   A true and correct copy of the English version of the Voter Information Guide for the June 7th
14   Presidential Primary Election, available on the Secretary of State’s website at
15   http://voterguide.sos.ca.gov/, is attached to this declaration as Exhibit A.
16         6.     Additionally, pursuant to Elections Code Section 9092, the Voter Information Guide
17   was displayed for public review. During the public review period from February 23, 2016 to
18   March 14, 2016, any person seeking to challenge its content was entitled to seek a writ of
19   mandate. A true and correct copy of the press release announcing the public review period for the
20   Voter Information Guide is attached to this declaration as Exhibit B and is available on the
21   Secretary of State’s website at http://www.sos.ca.gov/administration/news-releases-and-
22   advisories/2016-news-releases-and-advisories/.
23         7.     Poll Worker Training Standards: The Secretary of State’s website also includes the
24   “2016 Poll Worker Training Standards” which is designed to encourage poll workers to provide a
25   positive voting experience and to “ensure the rights of everyone seeking to vote are protected.”
26   Section 1, “Ensuring and Protecting the Rights of Every Voter,” includes the following
27   instructions for NPP voters in the subsection entitled, “Rights of Voters Who Decline to State a
28   Political Party Preference or Register with a Nonqualified Political Party”:
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 1         “County elections officials should train poll workers how to use and distribute NPP
           voter information materials including, but not limited to, signs, posters, and written
 2         information, to inform these voters that they may request a ballot of a political party
           that has authorized a NPP voter to “crossover” to vote the ballot of that political party
 3         for a particular election. The poll worker should provide information to the NPP voter
           in a way that avoids any advocacy towards a particular party's ballot.” (Page 3 of
 4         Section 1.)
 5

 6   Pages 2 and 3 of Section 1 provide more detailed information. A true and correct copy of

 7   Section 1 of the 2016 Poll Worker Training Standards, available on the Secretary of State’s

 8   website at http://elections.cdn.sos.ca.gov/poll-worker-training-standards/section1.pdf, is attached

 9   to this declaration as Exhibit C.

10         8.     Outreach Events: The Secretary of State’s office has conducted numerous outreach

11   events throughout the state. During the events listed below, the Secretary of State’s office

12   distributed a single-page flyer entitled, “June 7, 2016, Presidential Primary Election How to Vote

13   for President,” a quick reference guide to help voters registered with a party or registered as NPP

14   voters understand which candidates and parties presidential candidates they could vote for. The

15   outreach events included the following:

16         a.     Cinco de Mayo event at Southside Park in Sacramento on May 1, 2016

17         b.     HOPE Latina Action Day on May 10, 2016

18         c.     AMGEN Tour of California, South Lake Tahoe on May 19, 2016

19         d      AMGEN Tour of California, Folsom on May 20, 2016

20         e.     AMGEN Tour of California, Santa Rosa on May 21, 2016

21         f.     Sacramento Republic FC Soccer Game, Sacramento on May 21, 2016

22         g.     AMGEN Tour of California, Sacramento on May 22, 2016

23         h.     Davis Pride, Davis on May 22, 2016

24         i.     Intergalactic Expo, West Sacramento on May 22, 2016

25         j.     State Capitol, Sacramento on May 23, 2016

26   A true and correct copy of the “June 7, 2016, Presidential Primary Election How to Vote for

27   President” flyer is attached to this declaration as Exhibit D.

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 1         9.      Secretary Padilla’s Outreach: Additionally, Secretary Padilla personally participated
 2   in the following outreach events in which he specifically discussed voting rights and options for
 3   NPP voters:
 4         a.      Mount Whitney High School, Tulare County, April 19, 2016
 5         b.      West Hills Community College, Kings County, April 19, 2016
 6         c.      San Fernando High School, Los Angeles County, April 20, 2016
 7         d.      Rosemead High School, Los Angeles County, April 22, 2016
 8         e.      Crenshaw High School, Los Angeles County, April 25, 2016
 9         f.      Will C. Wood High School, Solano County, April 26, 2016
10         g.      Santa Ana High School, Orange County, April 27, 2016
11         h.      Oakland Military Institute, Alameda County, April 29, 2016
12         i.      Village Christian School , Los Angeles County, April 29, 2016
13         j.      Esteban Torres       High School, Los Angeles County, May 9, 2016
14         k.      LA Community College, Los Angeles County, May 12, 2016
15   These events, which focused on reaching out to younger voters, were often covered by local TV,
16   print, and radio media outlet. This often included English and other language media outlets.
17         10.     Press Releases: The Secretary of State has also issued numerous press releases that
18   specifically highlighted information relevant to NPP voters for the upcoming primary election.
19   These press releases were distributed to over 747 radio, TV, print, and social media reporters and
20   media outlets. These included the following:
21         a.      (AP16: 067) - Today is Final Day for Californians to Register to Vote for June
22                  Primary, May 23, 2016. This press release included a question and answer section
23                  specific to NPP voters. A true and correct copy of this press release is attached to this
24                  declaration as Exhibit E and is available on the Secretary of State’s website at
25                  http://www.sos.ca.gov/administration/news-releases-and-advisories/2016-news-
26                  releases-and-advisories/.
27         b.      (AP16: 065) - One Week Remaining for Californians to Register to Vote in June 7,
28                  2016 Presidential Primary, May 16, 2016. A true and correct copy of this press
                                                             5
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 1                 release is attached to this declaration as Exhibit F and is available on the Secretary of
 2                 State’s website at http://www.sos.ca.gov/administration/news-releases-and-
 3                 advisories/2016-news-releases-and-advisories/.
 4        c.      (AP16: 063) - Tips for No Party Preference Voters, May 12, 2016. A true and correct
 5                 copy of this press release is attached to this declaration as Exhibit G and is available
 6                 on the Secretary of State’s website at http://www.sos.ca.gov/administration/news-
 7                 releases-and-advisories/2016-news-releases-and-advisories/.
 8        d.      (AP16: 060) - Secretary of State Padilla Encourages Californians to Register to Vote
 9                 for June 7, 2016 Election, April 29, 2016. A true and correct copy of this press
10                 release is attached to this declaration as Exhibit H and is available on the Secretary
11                 of State’s website at http://www.sos.ca.gov/administration/news-releases-and-
12                 advisories/2016-news-releases-and-advisories/.
13        12.     Website: The Secretary of State’s official website includes information relevant to
14   voting options for NPP voters.
15        a.      The “June 7, 2016 Presidential Primary Election” page provides links to 1) NPP voter
16                 information, 2) vote-by-mail information, and 3) polling place NPP information. The
17                 information is available at http://www.sos.ca.gov/elections/upcoming-elections/june-
18                 7-2016-presidential-primary-election/.
19        b.      The “NPP voter information” provides background information outlining origins of
20                 California’s modified-closed primary election. This page also highlights which
21                 political parties have authorized NPP voters to cross-over and vote in their primary
22                 election as well as links and instructions for requesting vote by mail or in precinct
23                 cross-over ballots (and applicable deadlines). The information is available at
24                 http://www.sos.ca.gov/elections/political-parties/no-party-preference/.
25        c.      The “Vote-by-mail information” page provides basic information to voters regarding
26                 requesting a vote by mail ballot including instructions and links back to the NPP
27                 voter information page listed above. The information is available at
28                 http://www.sos.ca.gov/elections/voter-registration/vote-mail/
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 1         d.      The “Polling place NPP information” page links to a multi-lingual single page PDF
 2                  file that the Secretary of State created for informational purposes and for display in
 3                  polling places. A true and correct copy of the flyer is attached hereto as Exhibit I and
 4                  is available at http://elections.cdn.sos.ca.gov//statewide-elections/2016-primary/no-
 5                  party-preference.pdf. Additionally, between May 3 and May 11 our office sent 3,332
 6                  copies to the 15 county elections officials that requested them. A true and correct
 7                  copy of CCROV 16124, sent to each county elections official, which included
 8                  instructions for use of the flyer is attached hereto as Exhibit J.
 9         e.      The “How to Vote for President” flyer, referenced above (Exhibit D) is also a top
10                  level link on the Secretary of State’s Election main page available at
11                  http://www.sos.ca.gov/elections when a user clicks “Voting for President.” The flyer
12                  is available for viewing and download in each nine additional languages at
13                  http://www.sos.ca.gov/elections#third.
14                 Our website includes a variety of links to access each of the above-referenced
15                 information.
16         13.     Social Media: The Secretary of State’s office also communicates directly to voters
17   and elections officials via Facebook and Twitter. As part of this office’s ongoing educational
18   efforts, a large number of social media posts were specifically focused on providing information
19   for NPP voters.
20         14.     Twitter Posts: The following represent Secretary of State Twitter posts referencing
21   issues particularly relevant to NPP voters:
22         a.      5/24/2016: No Party Preference Voters who vote-by-mail--> you can still request a
23                  partisan presidential ballot. Info here: http://www.sos.ca.gov/administration/news-
24                  releases-and-advisories/2016-news-releases-and-advisories/tips-no-party-preference-
25                  voters/ …The direct link to the twitter post is available at
26                  https://twitter.com/CASOSvote/status/735202444301324293
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 1      b.     5/23/2016: Know your options for voting for President in California’s June 7 Primary
 2              Election. http://registertovote.ca.gov/ The direct link to the twitter post is available at
 3              https://twitter.com/CASOSvote/status/734911713921765376
 4      c      5/22/2016: California No Party Preference voters --> know your options for casting a
 5              ballot for President: http://www.sos.ca.gov/administration/news-releases-and-
 6              advisories/2016-news-releases-and-advisories/tips-no-party-preference-voters/ …
 7              The direct link to the twitter post is available at
 8              https://twitter.com/CASOSvote/status/734490530751467520
 9      d.     5/20/2016: Video from @OCRegistrar on No Party Preference voters' rights, options,
10              and OC poll worker training: The direct link to the twitter post is available at
11              https://twitter.com/CASOSvote/status/733795862242066432
12      e.     5/20/2016: CA voters with no party preference--> read these important tips for voting
13              for President in the June 7 #CAPrimary http://www.sos.ca.gov/administration/news-
14              releases-and-advisories/2016-news-releases-and-advisories/tips-no-party-preference-
15              voters/ …: The direct link to the twitter post is:
16              https://twitter.com/CASOSvote/status/733704695387160576
17      f.     5/18/2016: Important tips for California voters registered with no party preference:
18              http://www.sos.ca.gov/administration/news-releases-and-advisories/2016-news-
19              releases-and-advisories/tips-no-party-preference-voters/ …: The direct link to the
20              twitter post is available at
21              https://twitter.com/CASOSvote/status/733032853970128896
22      g.     5/13/2016: Important tips for California voters registered with no party preference
23              preference: http://www.sos.ca.gov/administration/news-releases-and-advisories/2016-
24              news-releases-and-advisories/tips-no-party-preference-voters/ …: The direct link to
25              the twitter post is available at
26              https://twitter.com/CASOSvote/status/731174465246126080
27

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 1         h.      5/11/2016: Know your options for voting for President in California’s June 7 Primary
 2                  Election.: The direct link to the twitter post is available at
 3                  https://twitter.com/CASOSvote/status/730528268403625986
 4         i       5/9/2016: VIDEO: Know your options for voting for President in California's June 7
 5                  Primary Election.: The direct link to the twitter post is available at
 6                  https://twitter.com/CASOSvote/status/729736142497587200
 7         j.      5/3/2016: How to vote for President in California’s June 7 Primary Election.
 8                  #VoteCalifornia: The direct link to the twitter post is available at
 9                  https://twitter.com/CASOSvote/status/727603288187633664
10         k.      1/27/2016: #California voters with no party preference have three choices of ballot
11                  for the presidential primary. @sacbee_news: The direct link to the twitter post is
12                  available at: https://twitter.com/CASOSvote/status/692457707165470720
13         l       1/26/2016: More information on presidential primary ballots available here:
14                  http://www.sos.ca.gov/administration/news-releases-and-advisories/2016-news-
15                  releases-and-advisories/three-parties-allow-no-party-preference-voters-participate-
16                  presidential-primary/ …: The direct link to the twitter post is available at:
17                  https://twitter.com/CASOSvote/status/692111006898786307
18         m.      1/26/2016: No Party Preference voters may request American Independent,
19                  Democratic, or Libertarian presidential ballots in June 7, 2016 primary: The direct
20                  link to the twitter post is available at:
21                  https://twitter.com/CASOSvote/status/692110874958532608
22         15.     Facebook Posts: The following represent Secretary of State Facebook posts
23   referencing issues particularly relevant to NPP voters:
24         a.      5/23/2016: This post displays the Secretary of State’s instructional flyer, “How to
25                  Vote for President.” (See Secretary of State Facebook website, available at:
26                  https://www.facebook.com/CaliforniaSOS/posts/1215256471820087:0).
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 1      b.     5/20/16: This post provides questions and answers related to NPP voting options and
 2              guidance. (See Secretary of State Facebook website, available at:
 3              https://www.facebook.com/CaliforniaSOS/posts/1212947338717667).
 4      c.     5/18/16: This post provides general information about the voting options for NPP
 5              voters and links to multilingual voting materials. (See Secretary of State Facebook
 6              website, available at:
 7              https://www.facebook.com/CaliforniaSOS/posts/1211204022225332).
 8      d.     5/16/2016: SOS staff responded to a constituent question regarding NPP voting and
 9              provided links to additional tips and info for NPP voters. (See Secretary of State
10              Facebook website, available at:
11              https://www.facebook.com/CaliforniaSOS/posts/1210285672317167:0).
12      e.     5/13/2016: This post provides questions and answers related to NPP voting options
13              and guidance. (See Secretary of State Facebook website, available at:
14              https://www.facebook.com/CaliforniaSOS/posts/1208292205849847).
15      f.     5/11/2016: This post provides questions and answers related to NPP voting options
16              and guidance. (See Secretary of State Facebook website, available at:
17              https://www.facebook.com/CaliforniaSOS/posts/1207162732629461:0).
18      g.     5/3/2016: This post displays the Secretary of State’s instructional flyer, “How to Vote
19              for President.” (See Secretary of State Facebook website, available at:
20              https://www.facebook.com/CaliforniaSOS/posts/1201922176486850:0).
21      h.     3/24/2016: This post provides a link to the Secretary of State’s Voter Information
22              Guide, which includes NPP voter information. (See Secretary of State Facebook
23              website, available at:
24              https://www.facebook.com/CaliforniaSOS/posts/1172255356120199).
25      i.     2/23/2016: This post provides a link to the Secretary of State’s Voter Information
26              Guide, which includes NPP voter information. (See Secretary of State Facebook
27              website, available at:
28              https://www.facebook.com/CaliforniaSOS/posts/1151021844910217).
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 1         j.      1/26/2016: This post provides information specific to NPP voter rights. (See
 2                  Secretary of State Facebook website, available at:
 3                  https://www.facebook.com/CaliforniaSOS/posts/1134470109898724).
 4         16.     Voter Information Hotline: The Secretary of State’s office also operates a voter
 5   information hotline. When a voter calls the Secretary of State’s Voter Hotline in any of the ten
 6   languages offered – English ((800) 345-8683), Spanish, Chinese, Hindi, Japanese, Khmer,
 7   Korean, Tagalog, Thai and Vietnamese – using our toll-free numbers, they have several options to
 8   receive important election information. One of these options (option number 7) states: “To find
 9   out which political parties will allow No Party Preference voters to vote for their presidential
10   candidates in the upcoming presidential primary election, press 7.” If the caller chooses this
11   option, the phone system provides the following recorded message, active since March 4, 2016:
12         When a person registers to vote, he or she can either disclose a political party
           preference or decline to disclose a political party preference. In general, only voters
13         who have disclosed a political party preference with a specific party are eligible to
           vote for that party’s presidential candidate in the primary election. However, state
14         law allows a political party to let voters who have declined to disclose a political
           party preference, known as “no party preference” voters, to vote for their presidential
15         candidate in the primary election. For the June 7th Presidential Primary Election, the
           American Independent, Democratic and Libertarian parties have officially notified the
16         Secretary of State that “no party preference” voters can vote for their respective
           presidential candidates. “No party preference” voters may either vote a nonpartisan
17         ballot or choose the ballot of one of the parties mentioned. When registering to vote,
           if a voter did not disclose a party preference, disclosed a preference with a non-
18         qualified party, or listed “independent,” the voter is considered a “no party
           preference” voter. “
19
     Secretary of State personnel who speak directly with callers are instructed to relay the above
20
     information to those requesting it. Our call center staff and volunteers attend a 1-hour mandatory
21
     training session. This training session includes information on No Party Preference voters.
22
     During the training session all volunteers are given a “How to Vote for President” flyer and
23
     “Voter Hotline – Quick Reference Guide” which includes the following guidance:
24
           “HOT TOPIC: The following political parties have notified the Secretary of State of
25         their decision to allow No Party Preference voters to request their party’s presidential
           ballot in the June 7, 2016 Presidential Primary Election. No other qualified political
26         party will allow cross-over voters. See “How to Vote for President” flyer for more
           details.
27
                   •      American Independent Party
28
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 1                 •      Democratic Party
 2                 •      Libertarian Party”
 3   A true and correct copy of the Voter Hotline Quick Reference Guide is attached as Exhibit K.
 4   Additionally, on each voter hotline operator’s computer the “wallpaper image” includes
 5   information related to NPP voters. A true and correct copy of the Voter Hotline Voter Reference
 6   Guide is attached as Exhibit L.
 7         17.     County Funding Resources: Secretary of State Padilla also spearheaded a successful
 8   effort to seek additional one-time funding of $16.28 million through the 2016 Budget Act
 9   (AB120) for county elections officials to ensure that they had sufficient resources to administer
10   the upcoming primary election, including funding for additional ballot supply for NPP cross over
11   voters. A true and correct copy of Secretary Padilla’s press release announcing the effort,
12   including his letter to Governor Brown requesting resources is attached to this declaration as
13   Exhibit M and is available on the Secretary of State’s website at
14   http://www.sos.ca.gov/administration/news-releases-and-advisories/2016-news-releases-and-
15   advisories/. A true and correct copy of the press release announcing Governor Brown’s signing of
16   AB120 is attached to this declaration as Exhibit N and is available on the Secretary of State’s
17   website at http://www.sos.ca.gov/administration/news-releases-and-advisories/2016-news-
18   releases-and-advisories/.
19         18.     County Advisory: The Secretary of State provides official guidance and notifications
20   to county elections officials through CCROVS. On January 25, 2016, CCROV 16036 provided
21   notifications that the American Independent Party, Democratic Party, and Libertarian Party would
22   allow “No Party Preference” voters to request their party’s presidential ballot in the June 7, 2016
23   Presidential Primary Election. A true and correct copy of CCROV 16036 is attached to this
24   declaration as Exhibit O.
25         19.     As a result of the heightened interest in the June 7, 2016 Presidential Primary
26   Election, on March 30, 2016, the Secretary of State issued an official memorandum urging that all
27   counties made plans to ensure they had an ample number of ballot in supply at polling places and
28   at their main offices. The advisory further recommended that counties have on hand more than
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 1   the minimum supply of ballots than required pursuant to Elections Code Section 14102. A true
 2   and correct copy of CCROV #16103, “Presidential Primary: Sufficient Supply of Ballots” is
 3   attached to this declaration as Exhibit P.
 4         20.     In further preparation, the Secretary of State issued CCROV #16137 on May 13,
 5   2016, to all county registrars reminding each of their statutory obligations under Elections Code
 6   Section 14299 which requires counties to have an alternative procedure in place in the event there
 7   are insufficient ballots at a precinct. The directive requires each county to submit their alternative
 8   procedures plans to the Secretary of State. The advisory further identified Secretary of State-
 9   approved alternative procedures for use in the upcoming primary election. A true and correct
10   copy of CCROV #16137, “Presidential Primary: Approved Alternative Procedures” is attached to
11   this declaration as Exhibit Q.
12         21.     Media Coverage: To amplify the information the Secretary of State’s office has
13   disseminated, the Secretary of State has provided information directly to various media outlets
14   including interviews with Secretary Padilla. Attached as Exhibit R is a list of media various
15   news stories that have resulted from information or interviews that the Secretary of State has
16   provided those outlets regarding NPP voting rights. The coverage has been widespread in various
17   print, online, TV, and radio formats.
18         22,     The Secretary of State’s website has included a Vote By Mail Application since 2002.
19   The application is designed for use by individuals, groups, or organizations. The website further
20   state, “[The application] is designed to help political parties, vote-by-mail registration drive
21   coordinators, petition management companies, and professional and volunteer circulators
22   understand their responsibilities and requirements when helping people apply to vote by mail in
23   California.” A true and correct copy of the current Vote By Mail application, April 2016 revision,
24   is attached to this declaration as Exhibit S and is available on the Secretary of State’s website at
25   http://www.sos.ca.gov/elections/voter-registration/vote-mail/#distributing. A true and correct
26   copy of the December 2014 revision of the Vote By Mail application is attached to this
27   declaration as Exhibit T.
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